Case 1:21-cv-03283-PAB-STV Document 34 Filed 01/27/22 USDC Colorado Page 1 of 10




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


   DUKE BRADFORD, et al.,                                 CIVIL ACTION NO.: 1:21-cv-03283
        Plaintiffs,

   v.

   U.S. DEPARTMENT OF LABOR, et al.,
         Defendants.


                      MOTION FOR AN INJUNCTION PENDING APPEAL

         Pursuant to Rule 62(d) of the Federal Rules of Civil Procedure, Plaintiffs Duke Bradford,

  Arkansas Valley Adventure, LLC d/b/a AVA Rafting and Zipline (AVA) and the Colorado River

  Outfitters Association (CROA), move for an injunction pending interlocutory appeal prohibiting

  Defendants, Pres. Joseph R. Biden, Sec. Martin J. Walsh, Acting Admin. Jessica Looman, the U.S.

  Dept. of Labor, and the Wage & Hour Division (collectively DOL or the Department) from

  enforcing the rule, Increasing the Minimum Wage for Federal Contractors, 86 Fed. Reg. 67,126

  (Nov. 23, 2021), pending final judgment in this matter.

         Unless enjoined, DOL’s rule will take effect on January 30, 2022, and force Plaintiffs and

  CROA’s members to incur significant compliance, implementation, and direct wage costs. Those

  costs are not recoverable from Defendants, however, and are thus irreparable. Plaintiffs have raised
  substantial questions concerning the rule’s validity, particularly in light of its significant impact

  and the novelty of the issues presented in this case. Rather than risk the irreparable harms to

  Plaintiffs, this Court should enjoin the rule pending appeal.

                             FACTS AND PROCEDURAL HISTORY

         On April 27, 2021, President Biden issued Executive Order 14026, Increasing the

  Minimum Wage for Federal Contractors, imposing a $15/hr minimum wage rule for government

  contractors. 86 Fed. Reg. 22,835. On November 23, 2021, DOL issued its final rule implementing

  the order, effective January 30, 2022. Increasing the Minimum Wage for Federal Contractors, 86
  Fed. Reg. 67,126.

                                                   1
Case 1:21-cv-03283-PAB-STV Document 34 Filed 01/27/22 USDC Colorado Page 2 of 10




           Mr. Bradford, AVA, and CROA filed a complaint for declaratory relief against Defendants

  on December 7, 2021, challenging the rule. ECF No. 1. They then moved for a preliminary

  injunction on December 9, 2021. ECF No. 7. Defendants filed an opposition on December 27,

  2021, ECF No. 21, to which AVA and CROA replied on December 29, 2021. ECF No. Doc. 22.

           This Court held an evidentiary hearing on January 6, 2022, and then on January 24, 2022,

  it denied the request for a preliminary injunction in a written opinion. ECF No. 31. The opinion

  addressed only one of the relevant factors—“likelihood of success on the merits.” ECF No. 31 at

  16. Because it concluded that Plaintiffs were wrong in their legal theory, this Court denied the

  “motion for a preliminary injunction without addressing the remaining preliminary injunction

  factors.” Id. at 46.

           Plaintiffs filed a notion of interlocutory appeal on January 26, 2022. ECF No. 33. They

  now file this motion for an injunction pending appeal. Plaintiffs will also file a motion for an

  injunction pending appeal in the Tenth Circuit pursuant to Rule 8 of the Federal Rules of Appellate

  Procedure as soon as the appeal is docketed.

                                             ARGUMENT

           Federal Rule of Civil Procedure 62(d) allows a district court to “grant an injunction”

  “[w]hile an appeal is pending from an interlocutory order or final judgment that grants, continues,

  modifies, refuses, dissolves, or refuses to dissolve or modify an injunction[.]” “This rule does not
  limit the power of the appellate court or one of its judges or justices . . . to stay proceedings—or

  suspend, modify, restore, or grant an injunction—while an appeal is pending.” Fed. R. Civ. P.

  62(g).

           Different Rules of Procedure govern the power of district courts and courts of appeals to

  stay an order pending appeal. See Fed. R. Civ. P. 62(d); Fed. R. App. P. 8. “Under both Rules,

  however, the factors regulating the issuance of a stay are generally the same: (1) whether the stay

  applicant has made a strong showing that he is likely to succeed on the merits; (2) whether the

  applicant will be irreparably injured absent a stay; (3) whether issuance of the stay will
  substantially injure the other parties interested in the proceeding; and (4) where the public interest

                                                    2
Case 1:21-cv-03283-PAB-STV Document 34 Filed 01/27/22 USDC Colorado Page 3 of 10




  lies.” Hilton v. Braunskill, 481 U.S. 770, 776 (1987); accord Nken v. Holder, 556 U.S. 418, 434

  (2009).

            While there is “substantial overlap” between this standard and that governing preliminary

  injunctions, they are not identical. Nken, 556 U.S. at 434. In the Tenth Circuit, a party seeking an

  injunction must show: “(a) the likelihood of success on appeal; (b) the threat of irreparable harm

  if the stay or injunction is not granted; (c) the absence of harm to opposing parties if the stay or

  injunction is granted; and (d) any risk of harm to the public interest.” McClendon v. City of

  Albuquerque, 79 F.3d 1014, 1020 (10th Cir. 1996) (quoting 10th Cir. R. 8.1).

            But most critically, if a party “can meet the other requirements for a stay pending appeal,

  they will be deemed to have satisfied the likelihood of success on appeal element if they show

  questions going to the merits so serious, substantial, difficult and doubtful, as to make the issues

  ripe for litigation and deserving of more deliberate investigation.” Id. at 1020 (internal citation and

  quotation marks omitted); see also In re Revel AC, Inc., 802 F.3d 558, 568–69 (3d Cir. 2015) (a

  sufficient degree of success for an injunction pending appeal is “a reasonable chance, or

  probability, of winning,” but “the likelihood of winning on appeal need not be more likely than

  not”) (internal citations and quotation marks omitted).1 Thus, where serious legal questions are

  presented, an injunction on appeal may be necessary even when an injunction was not required at

  the trial level. See, e.g., O Centro Espirita Beneficiente Uniao De Vegetal v. Ashcroft, 314 F.3d
  463, 467 (10th Cir. 2002) (staying injunction on appeal without addressing the validity of the



  1
    The Tenth Circuit previously applied this same relaxed standard in certain circumstances when
  reviewing a district court’s denial of a preliminary injunction under Rule 65. Dine Citizens Against
  Ruining Our Env’t v. Jewell, 839 F.3d 1276, 1282 (10th Cir. 2016). That standard has been
  abrogated with respect to Rule 65, in reliance on the Supreme Court’s decision in Winter v. Natural
  Resources Defense Council, Inc., 555 U.S. 7 (2008). Id. However, because the Winter decision did
  not address the separate standard of whether a stay pending appeal is appropriate, the lower
  standard applies in this context. See Citigroup Glob. Markets, Inc. v. VCG Special Opportunities
  Master Fund Ltd., 598 F.3d 30, 37, 37 n.7 (2d Cir. 2010) (noting that the “serious question”
  standard remains the “standard for granting a stay pending appeal,” which need have a likelihood
  of success that is “better than negligible” but need not be “more likely than not”) (quoting Nken,
  556 U.S. at 434).
                                                     3
Case 1:21-cv-03283-PAB-STV Document 34 Filed 01/27/22 USDC Colorado Page 4 of 10




  underlying injunction); Cigar Ass’n of Am. v. U.S. FDA., 317 F. Supp. 3d 555, 561 (D.D.C. 2018)

  (granting stay despite low likelihood of success on the merits); Dunlap v. Presidential Advisory

  Comm’n on Election Integrity, 319 F. Supp. 3d 70, 105–07 (D.D.C. 2018) (observing that “a

  ‘serious legal question’ could help tip the scales . . . when the likelihood of success on appeal is

  low”); Akiachak Native Cmty. v. Jewell, 995 F. Supp. 2d 7, 13–14 (D.D.C. 2014) (where decision

  “presented difficult and substantial legal questions . . . and was at times, a close one,” stay of

  injunction on appeal was necessary).

      I.      PLAINTIFFS HAVE DEMONSTRATED SUBSTANTIAL QUESTIONS ON
              THE MERITS, MAKING THE ISSUE DESERVING OF MORE DELIBERATE
              INVESTIGATION

           Even though this Court has already ruled against Plaintiffs’ merits arguments, this case

  presents substantial legal questions that warrant an injunction pending appeal. By definition, every

  request for an injunction pending appeal that arises in this context occurs despite a rejection of the

  arguments presented to the court. But so long as the case presents “serious legal questions,” “the

  fact that the court does not share Plaintiffs’ conviction that it erred is not fatal to their request for

  an injunction pending appeal.” Cigar Ass’n of Am., 317 F. Supp. 3d at 561. Here, given the novel

  legal issues and the significant scope of the challenged rule, there are serious legal questions that

  should be reviewed by the Tenth Circuit before the rule takes effect.

           First, this case presents a wholly novel legal issue of great significance. There have been

  no cases deciding whether the President’s authority under the Procurement Act extends to

  nonprocurement contractors. As this Court noted, “plaintiffs are correct that outfitters are not

  procurement contractors,” ECF No. 31 at 18, which is a point that even DOL concedes. See 86

  Fed. Reg. at 67,152 (describing outfitters as “non-procurement contractors”). But none of the cases

  interpreting the scope of the Procurement Act that supported this Court’s opinion addressed that

  unique scenario. See, e.g., City of Albuquerque v. U.S. Dep’t of Interior, 379 F.3d 901, 914 (10th

  Cir. 2004) (addressing allocation of government office space); UAW-Lab. Emp. & Training Corp.
  v. Chao, 325 F.3d 360, 362, 366–67 (D.C. Cir. 2003) (addressing rule governing “government

                                                     4
Case 1:21-cv-03283-PAB-STV Document 34 Filed 01/27/22 USDC Colorado Page 5 of 10




  contracts involving more than $100,000”); AFL-CIO v. Kahn, 618 F.2d 784, 786 (D.C. Cir. 1979)

  (en banc) (wage and price controls for all direct government contracts “worth more than $5

  million”). Because Plaintiffs’ argument centers largely on the scope of the Procurement Act, and

  its ability to apply beyond the procurement context, at minimum this case presents a novel issue

  worthy of deeper consideration.

         Additionally, while this case presents a novel issue concerning the scope of a statute that,

  in any context, has been rarely interpreted, recent litigation signals deep disagreements with the

  prevailing “lenient” standard of review adopted by this Court. At least five different district courts

  have recently vacated a separate executive order issued under the Procurement Act because it fails

  to meet the economy and efficiency standard. See, e.g., Feds for Med. Freedom v. Biden, No. 3:21-

  CV-356, 2022 WL 188329, at *5 (S.D. Tex. Jan. 21, 2022); Florida v. Nelson, No. 8:21-cv-2524,

  2021 WL 6108948, at * 11 (M.D. Fla. Dec. 22, 2021); Missouri v. Biden, No. 21-cv-1300, Docket

  No. 36 (E.D. Mo. Dec. 20, 2021); Georgia v. Biden, No. 21-cv-163, 2021 WL 5779939, at *9

  (S.D. Ga. Dec. 7, 2021); Kentucky v. Biden, No. 3:21-cv-55, 2021 WL 5587446, at *6 (E.D. Ky.

  Nov. 30, 2021). Appeals are pending in all of these cases. And the Sixth Circuit, moreover, has

  already issued a precedential opinion finding the order likely unlawful. Kentucky v. Biden, No. 21-

  6147, 2022 WL 43178, at *12 (6th Cir. Jan. 5, 2022).

         These recent decisions have adopted analysis in conflict with this Court’s. For instance,
  while this Court accepted DOL’s assertion that the wage rule could “bolster economy and

  efficiency in federal procurement because raising the minimum enhances worker productivity and

  generates higher-quality work by boosting workers’ health, morale, and effort; reducing

  absenteeism and turnover; and lowering supervisory and training costs,” ECF No. 31 at 26 (citation

  omitted), nearly identical statements of reasons were rejected by these other courts. Indeed, one

  court dismissed arguments that the vaccine order would “(1) decrease worker absence; (2) decrease

  labor costs; and (3) improve efficiency at work sites,” because they did not relate to “procurement

  and supply” and it “strained credulity” to think that Congress meant to empower the President in



                                                    5
Case 1:21-cv-03283-PAB-STV Document 34 Filed 01/27/22 USDC Colorado Page 6 of 10




  such a fashion. Kentucky, 2021 WL 5587446, at *6 (emphasis in original, citation omitted). The

  Sixth Circuit refused to find fault with that decision. See Kentucky, 2022 WL 43178, at *12.

         Separately, while this Court found the “persuasiveness” of the Fourth Circuit’s decision in

  Liberty Mut. Ins. Co. v. Friedman, 639 F.2d 164, 170 (4th Cir. 1981) to be “minimal,” ECF No.

  31 at 23 n.6, several of these recent decisions relied heavily on the Liberty Mutual analysis. See

  Florida, 2021 WL 6108948, at *11 (applying the Liberty Mutual standard that Procurement Act

  orders be “reasonably within the contemplation” of the statutory goals to preserve the separation

  of powers); Georgia, 2021 WL 5779939, at *10 (same).

         Next, this Court’s analysis on the scope of the major questions doctrine not only implicates

  broader issues of administrative law but is in tension with the Supreme Court’s latest statements

  concerning this issue. This Court declined to apply the doctrine because even if the challenged rule

  was “economically significant” “the economic effect is far below the range that the Office of

  Management and Budget quantifies to have a measurable effect, in macroeconomic terms, on the

  gross domestic product,” “which is $52.3 billion.” ECF No. 31 at 31. “Rather, the Biden Rule

  would have a small economic impact and is clearly within DOL’s area of expertise.” Id. But just a

  few weeks before this Court’s opinion, the Supreme Court applied the doctrine based on its

  unqualified statement that it applies whenever an agency exercises “powers of vast economic and

  political significance.” NFIB. v. OSHA, 142 S. Ct. 661, 665 (2022) (citation omitted). Moreover,
  in a concurring opinion Justice Gorsuch, joined by two others, noted that “[f]ar less consequential

  agency rules [than a vaccine mandate] have run afoul of the major questions doctrine,” such as

  rate regulation for telephone companies. Id. at 668 (citing MCI Telecommunications Corp. v. Am.

  Tel. & Tel. Co., 512 U.S. 218, 231, (1994) (eliminating rate-filing requirement that might affect

  the prices of, at most, “40% of a major sector” of long-distance carriers)).

         Finally, given the economic stakes at issue, this case certainly warrants close scrutiny.

  According to the Department, Plaintiffs are among the estimated 500,000 firms that will pay direct

  wages increases of “$1.7 billion per year over 10 years,” with “average annualized direct employer
  costs [] estimated to be $2.4 million” for each firm. 86 Fed. Reg. at 67,194. Even assuming that impact

                                                    6
Case 1:21-cv-03283-PAB-STV Document 34 Filed 01/27/22 USDC Colorado Page 7 of 10




  does not require application of the major questions doctrine, it is hardly insignificant. Instead, it

  presents a serious consequence worthy of further consideration. See Cigar Ass’n of Am., 317 F. Supp.

  3d at 563 (granting injunction pending appeal for new labels for cigars and pipe tobacco despite low

  odds of success on the merits, in part, because the plaintiffs would suffer “millions of dollars” in new

  compliance costs).

      II.      PLAINTIFFS WILL SUFFER IRREPARABLE HARM

            “Imposition of monetary damages that cannot later be recovered for reasons such as

  sovereign immunity constitutes irreparable injury.” Chamber of Com. v. Edmondson, 594 F.3d

  742, 770–71 (10th Cir. 2010). Compliance costs from a government rule, such as “implementation

  and training expenses,” coupled with the risk of future consequences for “non-compliance,”

  constitutes irreparable injury when the government is immune from damages because of sovereign

  immunity. Id. at 756-57, 771. The APA grants the sovereign immunity from monetary damages.

  See 5 U.S.C. § 702 (permitting only relief “other than money damages”). Thus, “the general rule

  that economic harm is not normally considered irreparable does not apply where there is no

  adequate remedy to recover those damages, such as in APA cases.” Cloud Peak Energy Inc. v.

  U.S. Dep’t of Interior, 415 F. Supp. 3d 1034, 1043 (D. Wyo. 2019) (citations omitted); see also

  California v. Azar, 911 F.3d 558, 581 (9th Cir. 2018) (“harm is irreparable here because the states

  will not be able to recover monetary damages” because of 5 U.S.C. § 702), remanded on other
  grounds by 141 S. Ct. 192 (2020). If a plaintiff must “incur at least some economic costs in

  complying with” an administrative rule, it will suffer irreparable injury, because “those compliance

  costs will not be recoverable later even if [the plaintiff] win[s] on the merits due to the federal

  government’s sovereign immunity from monetary damages.” Cloud Peak, 415 F. Supp. 3d at 1043.

            Plaintiffs have made a strong showing of the likelihood of irreparable harm. According to

  the Department, Plaintiffs are among the estimated 500,000 firms that will pay direct wages

  increases of “$1.7 billion per year over 10 years,” with “average annualized direct employer costs []

  estimated to be $2.4 million” for each firm. 86 Fed. Reg. at 67,194. Plus, Plaintiffs will incur additional

  “regulatory familiarization costs,” “implementation costs,” “compliance costs, increased consumer

                                                      7
Case 1:21-cv-03283-PAB-STV Document 34 Filed 01/27/22 USDC Colorado Page 8 of 10




  costs, [] reduced profits,” reduced competitiveness, and “disemployment” of their workers. Id. at

  67,204, 67,206, 67,208, 67,211. And, as Mr. Bradford testified, he expected to expend “between five

  and $10,000” just on attorney costs to ensure compliance before the rule took effect. Preliminary

  Hearing Transcript, Bradford Testimony at 20:1–11 (Jan. 6, 2022). He also explained that his company

  would need to spend more on wage costs, hire more staff, limit hours for existing staff, and provide

  more housing for employees, all of which “will drive expenses up.” Id. at 20:18–21:21. He would also

  need to eliminate overnight rafting trips entirely or else the “price would go beyond what our public

  could afford.” Id. at 21:22–22:2. The rule would further make AVA less competitive with other

  outfitters not subject to the rule. Id. at 21:12–23:2. Ultimately, “costs would go up and revenue would

  go down,” under the new rule. Id. at 23:21. Just as in Edmondson, which involved a challenge to a

  regulation that imposed new obligations on government contractors, Plaintiffs will suffer

  irreparable harm without the injunction because they will be forced to expend resources to comply

  with the rule (or face enforcement actions), but those costs cannot be recovered from the

  Department should they ultimately prevail. See 594 F.3d at 770–71.

     III.      THE EQUITIES FAVOR AN INJUNCTION

            A party seeking a preliminary injunction must demonstrate “that the balance of equities

  tips in [its] favor, and that an injunction is in the public interest.” Winter, 555 U.S. at 20. “These

  factors merge when the Government is the opposing party.” Nken, 556 U.S. at 435. A government
  “does not have an interest in enforcing a law that is likely” invalid. Edmondson, 594 F.3d at 771.

  Instead, “the public interest will perforce be served by enjoining the enforcement of the invalid

  provisions of [] law.” Id. (citation omitted). Indeed, when a rule exceeds an agency’s authority, the

  court should not “weigh [] tradeoffs” between its intended effect and harms. NFIB, 142 S. Ct. at

  666. “In our system of government, that is the responsibility of those chosen by the people through

  democratic processes.” Id. Even in the context of a decision where the Court has already rejected

  a merits challenge to agency action, the mere threat of unlawful government conduct sways the

  equities against the agency. See Cigar Ass’n of Am., 317 F. Supp. 3d at 563 (agency had inadequate
  interest in immediate enforcement of rule that was potentially unlawful).

                                                    8
Case 1:21-cv-03283-PAB-STV Document 34 Filed 01/27/22 USDC Colorado Page 9 of 10




         Given the substantial legal issues at play and the risk that DOL has not complied with limits

  on its authority, the equities favor an injunction pending appeal. See id. The rule will also result

  in, what DOL accepts to be, billions of dollars in potentially unlawful compliance expenditures in

  the rule’s first year, which is an egregious harm to Plaintiffs. See 86 Fed. Reg. at 67,194. On the

  other side of the ledger, DOL will be denied, at most, immediate enforcement of its rule.

                                            CONCLUSION

         Given the remaining equities and the substantial legal questions at issue, this Court should

  issue an injunction pending appeal.

  January 27, 2022
                                                                Respectfully submitted,

                                                                /s/ Caleb Kruckenberg
                                                                CALEB KRUCKENBERG
                                                                MICHAEL A. POON
                                                                STEVEN M. SIMPSON
                                                                Pacific Legal Foundation
                                                                3100 Clarendon Blvd, Suite 610
                                                                Arlington, VA 22201
                                                                202-888-6881
                                                                ckruckenberg@pacificlegal.org
                                                                mpoon@pacificlegal.org
                                                                ssimpson@pacificlegal.org
                                                                Counsel for Plaintiffs




                                                    9
Case 1:21-cv-03283-PAB-STV Document 34 Filed 01/27/22 USDC Colorado Page 10 of 10




                                   CERTIFICATE OF SERVICE
          I hereby certify that on January 27, 2022, I electronically filed the foregoing with the Clerk

   of Court using the CM/ECF system which sent notification of such filing to all counsel of record.

                                                                /s/ Caleb Kruckenberg
                                                                CALEB KRUCKENBERG
                                                                Pacific Legal Foundation
                                                                3100 Clarendon Blvd, Suite 610
                                                                Arlington, VA 22201
                                                                202-888-6881
                                                                CKruckenberg@pacificlegal.org
                                                                Counsel for Plaintiffs
